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                       EXHIBIT 11
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                             UNITED STATES DEPARTMENT OF EDUCATION
                         OFFICE OF SPECIAL EDUCATION AND REHABILITATIVE SERVICES




July 1, 2019

Honorable Carmen Ayala, Ph.D.
State Superintendent of Education
Illinois State Board of Education
100 N 1st Street
Springfield, Illinois 62777
Dear Superintendent Ayala:
We have approved Illinois’ application for Federal Fiscal Year (FFY) 2019 funds under Part B of
the Individuals with Disabilities Education Act (IDEA Part B). Our approval is based on our
review of the IDEA Part B application submitted by the Illinois State Board of Education to the
U.S. Department of Education (Department), Office of Special Education Programs (OSEP), on
May 10, 2019, including the assurances provided in Section II and incorporated by reference to
this letter as noted in Enclosure A.
Please note that as part of your application for FFY 2019, your State has provided a certification,
pursuant to 34 CFR §76.104, that its application meets the requirements of IDEA Part B and that
the State will operate its Part B program in accordance with all of the required assurances and
certifications. Any changes made by the State, after OSEP approval, to information that is a part
of a State’s application, must meet the public participation requirements in 34 CFR §300.165.
Enclosed are the State’s FFY 2019 grant awards for funds currently available under the
Department of Education Appropriations Act, 2019 (Title III of Division B, Public Law 115-
245), for the IDEA Part B Section 611 (Grants to States) and Section 619 (Preschool Grants)
programs. These funds are available for obligation by States from July 1, 2019, through
September 30, 2021, in accordance with 34 CFR §76.709.
The amount in your award for Section 619 represents the full amount of funds to which you are
entitled. However, the amount shown in your award for the Section 611 program is only part of
the total funds that will be awarded to you for FFY 2019. Of the $12,364,392,000 appropriated
for Section 611 in FFY 2019, $3,081,009,000 is available for awards on July 1, 2019, and
$9,283,383,000 will be available for awards on October 1, 2019. Under the Section 611 formula,
in a year in which the amount available for allocations to States increases from the prior year,
subject to certain maximum and minimum funding requirements, State allocations are based on
the amount that each State received under Section 611 for FFY 1999, the relative population of
children in the age range for which each State ensures the availability of a free appropriate public
education (FAPE) to children with disabilities, and the relative population of children living in




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                                            www.ed.gov
   The Department of Education’s mission is to promote student achievement and preparedness for global competiveness by
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                               fostering educational excellence and ensuring equal access.
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poverty in the age range for which each State ensures the availability of FAPE to children with
disabilities. 1
For FFY 2019, the appropriation for the Preschool Grants program is $391,120,000. Under the
Section 619 formula in a year in which the amount available for allocations to States remains the
same or increases from the prior year, State allocations, subject to certain maximum and
minimum funding requirements, are based on the amount that each State received under Section
619 for FFY 1997, the relative population of children aged three through five, and the relative
population of all children aged three through five living in poverty.
Enclosure B provides a short description of how Section 611 funds were allocated and how those
funds can be used. In addition, Table I in Enclosure B shows funding levels for distribution of
Section 611 funds and the parameters for within-State allocations.
Enclosure C provides a short description of how Section 619 funds were allocated and how those
funds can be used. In addition, Table II in Enclosure C shows State-by-State funding levels for
distribution of Section 619 funds.
Section 611(e)(1)(C) of the IDEA provides that “[p]rior to expenditure of funds under this
paragraph [Section 611(e)(1) concerning funds for State administration], the State shall certify to
the Secretary that the arrangements to establish responsibility for services pursuant to Section
612(a)(12)(A) are current.” We read this provision to mean that if a State does not have
interagency agreements or other arrangements in place to establish responsibility for the
provision of services, the State may not expend funds available to the State under Section
611(e)(1) [State administration funds] until the State has these agreements or arrangements in
place.
Under Section 608(a)(2) of the IDEA, each State that receives funds under IDEA Part B is
required to inform in writing local educational agencies located in the State of any State-imposed
rule, regulation, or policy that is not required by IDEA or Federal regulations. A State may use
the same list of State-imposed rules, regulations, and policies that it was required to submit to the
Department in Section IV of its IDEA Part B application for this purpose.
In Section V of its IDEA Part B application, pursuant to the authority in IDEA Section 618(a)(3),
the State was required to submit data on the total amount of State financial support made
available for special education and related services for children with disabilities in State fiscal
year (SFY) 2017 and SFY 2018. If OSEP receives information through audits, fiscal monitoring




1
  The amount that a State’s allocation may increase from one year to the next is capped at the amount the State
received in the prior year multiplied by the sum of 1.5 percent and the percentage increase in the total amount
appropriated for Part B of IDEA from the prior year. Additionally, the maximum amount that a State may receive in
any fiscal year is calculated by multiplying the number of children with disabilities ages 3 through 21 served during
the 2004-2005 academic year in that State by 40 percent of the annual per pupil expenditure (APPE), adjusted by the
rate of annual change in the sum of 85 percent of the children aged 3 through 21 for whom that State ensures the
availability of FAPE and 15 percent of the children living in poverty. Because there are multiple caps, in any year
the “effective cap” on a State’s allocation is the lowest cap for that State.




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or other means that raises questions about the data your State has provided in Section V, OSEP
will follow-up with your State.
Section 604 of the IDEA provides that “[a] State shall not be immune under the 11th amendment
to the Constitution of the United States from suit in Federal court for a violation of this [Act].”
Section 606 provides that each recipient of assistance under the IDEA make positive efforts to
employ and advance in employment qualified individuals with disabilities in programs assisted
under the IDEA. Therefore, by accepting this grant, your State is expressly agreeing as a
condition of IDEA funding to a waiver of Eleventh Amendment immunity and to ensuring that
positive efforts are made to employ and advance employment of qualified individuals with
disabilities in programs assisted under the IDEA.
The enclosed grant awards of FFY 2019 funds are made with the continued understanding that
this Office may, from time to time, require clarification of information within your application, if
necessary. These inquiries may be necessary to allow us to appropriately carry out our
administrative responsibilities related to IDEA Part B.
As a reminder, all prime recipients of IDEA Part B funds must report subaward information as
required by the Federal Funding Accountability and Transparency Act of 2006 (FFATA), as
amended in 2008. First-tier subaward information must be reported by the end of the following
month from when the award was made or obligated. FFATA guidance is found at
https://www.fsrs.gov/. Please contact your State’s Fiscal Accountability Facilitator if you have
further questions.
We appreciate your ongoing commitment to the provision of quality educational services to
children with disabilities.
                                                     Sincerely,

                                                     /S/

                                                     Laurie VanderPloeg
                                                     Director
                                                     Office of Special Education Programs

Enclosures
   Enclosure A
   Enclosure B
   Enclosure C

cc: State Director of Special Education




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State Name: Illinois

                                                Enclosure A

Section II

A. Assurances Related to Policies and Procedures

The State makes the following assurances that it has policies and procedures in place as required by Part
B of the Individuals with Disabilities Education Act. (20 U.S.C. 1411-1419; 34 CFR §§300.100-300.174)

    Yes              No                         Assurances Related to Policies and Procedures
(Assurance is
   given.)        (Assurance
                   cannot be
                given. Provide
                date on which
                   State will
                   complete
                  changes in
                    order to
                    provide
                  assurance.)
                 Check and
                enter date(s)
                as applicable

                                 1.   A free appropriate public education is available to all children with
                                      disabilities residing in the State between the ages of 3 and 21, inclusive,
     X                                including children with disabilities who have been suspended or
                                      expelled, in accordance with 20 U.S.C. 1412(a)(1);
                                      34 CFR §§300.101-300.108.

                                 2.   The State has established a goal of providing a full educational
                                      opportunity to all children with disabilities and a detailed timetable for
     X
                                      accomplishing that goal. (20 U.S.C. 1412(a)(2);
                                      34 CFR §§300.109-300.110)

                                 3.   All children with disabilities residing in the State, including children with
                                      disabilities who are homeless or are wards of the State and children
                                      with disabilities attending private schools, regardless of the severity of
                                      their disabilities, and who are in need of special education and related
     X
                                      services, are identified, located, and evaluated and a practical method
                                      is developed and implemented to determine which children with
                                      disabilities are currently receiving needed special education and related
                                      services in accordance with 20 U.S.C. 1412(a)(3); 34 CFR §300.111.

                                 4.   An individualized education program, or an individualized family service
                                      plan that meets the requirements of section 636(d), is developed,
                                      reviewed, and revised for each child with a disability in accordance with
     X
                                      34 CFR §§300.320 through 300.324, except as provided in
                                      §§300.300(b)(3) and 300.300(b)(4). (20 U.S.C. 1412(a)(4);
                                      34 CFR §300.112)

                                 5.   To the maximum extent appropriate, children with disabilities, including
     X                                children in public or private institutions or other care facilities, are
                                      educated with children who are not disabled, and special classes,

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    Yes              No                         Assurances Related to Policies and Procedures
(Assurance is
   given.)        (Assurance
                   cannot be
                given. Provide
                date on which
                   State will
                   complete
                  changes in
                    order to
                    provide
                  assurance.)
                 Check and
                enter date(s)
                as applicable
                                       separate schooling, or other removal of children with disabilities from
                                       the regular educational environment occurs only when the nature or
                                       severity of the disability of a child is such that education in regular
                                       classes with the use of supplementary aids and services cannot be
                                       achieved satisfactorily in accordance with 20 U.S.C. 1412(a)(5)(A)-(B);
                                       34 CFR §§300.114-300.120.

                                 6.    Children with disabilities and their parents are afforded the procedural
     X                                 safeguards required by 34 CFR §§300.500 through 300.536 and in
                                       accordance with 20 U.S.C. 1412(a)(6); 34 CFR §300.121.

                                 7.    Children with disabilities are evaluated in accordance with
     X                                 34 CFR §§300.300 through 300.311. (20 U.S.C. 1412(a)(7);
                                       34 CFR §300.122)

                                 8.    Agencies in the State comply with 34 CFR §§300.610 through 300.626
     X                                 (relating to the confidentiality of records and information).
                                       (20 U.S.C. 1412(a)(8); 34 CFR §300.123)

                                 9.    Children participating in early intervention programs assisted under Part
                                       C, and who will participate in preschool programs assisted under this
                                       part, experience a smooth and effective transition to those preschool
                                       programs in a manner consistent with section 637(a)(9). By the third
                                       birthday of such a child, an individualized education program or, if
     X                                 consistent with 34 CFR §300.323(b) and section 636(d), an
                                       individualized family service plan, has been developed and is being
                                       implemented for the child. The local educational agency will participate
                                       in transition planning conferences arranged by the designated lead
                                       agency under section 635(a)(10). (20 U.S.C. 1412(a)(9);
                                       34 CFR §300.124)

                                 10.   Agencies in the State, and the SEA if applicable, comply with the
                                       requirements of 34 CFR §§300.130 through 300.148 (relating to
                                       responsibilities for children in private schools), including that to the
                                       extent consistent with the number and location of children with
                                       disabilities in the State who are enrolled by their parents in private
     X                                 elementary schools and secondary schools in the school district served
                                       by a local educational agency, provision is made for the participation of
                                       those children in the program assisted or carried out under this part by
                                       providing for such children special education and related services in
                                       accordance with the requirements found in 34 CFR §§300.130 through
                                       300.148 unless the Secretary has arranged for services to those


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    Yes              No                         Assurances Related to Policies and Procedures
(Assurance is
   given.)        (Assurance
                   cannot be
                given. Provide
                date on which
                   State will
                   complete
                  changes in
                    order to
                    provide
                  assurance.)
                 Check and
                enter date(s)
                as applicable
                                       children under subsection (f) [By pass]. (20 U.S.C. 1412(a)(10);
                                       34 CFR §§300.129-300.148)

                                 11.   The State educational agency is responsible for ensuring that the
                                       requirements of Part B are met including the requirements of
                                       34 CFR §§300.113, 300.149, 300.150 through 300.153, and 300.175
     X
                                       and 300.176 and that the State monitors and enforces the requirements
                                       of Part B in accordance with 34 CFR §§300.600-300.602 and 300.606-
                                       300.608. (20 U.S.C. 1412(a)(11); 34 CFR §300.149)

                                 12.   The Chief Executive Officer of a State or designee of the officer shall
                                       ensure that an interagency agreement or other mechanism for
                                       interagency coordination is in effect between each public agency
                                       described in subparagraph (b) of 34 CFR §300.154 and the State
                                       educational agency, in order to ensure that all services described in
     X
                                       paragraph (b)(1)(i) that are needed to ensure a free appropriate public
                                       education are provided, including the provision of such services during
                                       the pendency of any dispute under §300.154(a)(3). Such agreement or
                                       mechanism shall meet the requirements found in
                                       20 U.S.C. 1412(a)(12)(A)-(C); 34 CFR §300.154.

                                 13.   The State educational agency will not make a final determination that a
                                       local educational agency is not eligible for assistance under this part
     X
                                       without first affording that agency reasonable notice and an opportunity
                                       for a hearing. (20 U.S.C. 1412(a)(13); 34 CFR §300.155)

                                 14.   The State educational agency has established and maintains
                                       qualifications to ensure that personnel necessary to carry out this part
                                       are appropriately and adequately prepared and trained, including that
     X
                                       those personnel have the content knowledge and skills to serve children
                                       with disabilities as noted in 20 U.S.C. 1412(a)(14)(A)-(E);
                                       34 CFR §300.156.

                                 15.   The State has established goals for the performance of children with
     X                                 disabilities in the State that meet the requirements found in
                                       20 U.S.C. 1412(a)(15)(A)-(C); 34 CFR §300.157.

                                 16.   All children with disabilities are included in all general State and
                                       districtwide assessment programs, including assessments described
     X                                 under section 1111 of the Elementary and Secondary Education Act of
                                       1965, with appropriate accommodations and alternate assessments
                                       where necessary and as indicated in their respective individualized


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    Yes              No                           Assurances Related to Policies and Procedures
(Assurance is
   given.)        (Assurance
                   cannot be
                given. Provide
                date on which
                   State will
                   complete
                  changes in
                    order to
                    provide
                  assurance.)
                 Check and
                enter date(s)
                as applicable
                                        education programs as noted in 20 U.S.C. 1412(a)(16)(A)-(E);
                                        34 CFR §300.160.

                                 17.    Funds paid to a State under this part will be expended in accordance
     X                                  with all the provisions of Part B including 20 U.S.C. 1412(a)(17)(A)-(C);
                                        34 CFR §300.162.

                                 18.    The State will not reduce the amount of State financial support for
                                        special education and related services for children with disabilities, or
                                        otherwise made available because of the excess costs of educating
     X
                                        those children, below the amount of that support for the preceding fiscal
                                        year, unless a waiver is granted, in accordance with
                                        20 U.S.C. 1412(a)(18)(A)-(D); 34 CFR §§300.163 through 300.164.

                                 19.    Prior to the adoption of any policies and procedures needed to comply
                                        with this section (including any amendments to such policies and
                                        procedures), the State ensures that there are public hearings, adequate
     X
                                        notice of the hearings, and an opportunity for comment available to the
                                        general public, including individuals with disabilities and parents of
                                        children with disabilities. (20 U.S.C. 1412(a)(19); 34 CFR §300.165)

                                 20.    In complying with 34 CFR §§300.162 and 300.163, a State may not use
                                        funds paid to it under this part to satisfy State-law mandated funding
     X                                  obligations to local educational agencies, including funding based on
                                        student attendance or enrollment, or inflation. (20 U.S.C. 1412(a)(20);
                                        34 CFR §300.166)

                                 21.    The State has established and maintains an advisory panel for the
                                        purpose of providing policy guidance with respect to special education
     X
                                        and related services for children with disabilities in the State as found in
                                        20 U.S.C. 1412(a)(21)(A)-(D); 34 CFR §§300.167-300.169.

                                 22.    The State educational agency examines data, including data
                                        disaggregated by race and ethnicity, to determine if significant
     X                                  discrepancies are occurring in the rate of long-term suspensions and
                                        expulsions of children with disabilities in accordance with
                                        20 U.S.C. 1412(a)(22)(A)-(B); 34 CFR §300.170.

                                 23a.   The State adopts the National Instructional Materials Accessibility
     X                                  Standard for the purposes of providing instructional materials to blind
                                        persons or other persons with print disabilities, in a timely manner after
                                        the publication of the National Instructional Materials Accessibility


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    Yes              No                          Assurances Related to Policies and Procedures
(Assurance is
   given.)        (Assurance
                   cannot be
                given. Provide
                date on which
                   State will
                   complete
                  changes in
                    order to
                    provide
                  assurance.)
                 Check and
                enter date(s)
                as applicable
                                        Standard in the Federal Register in accordance with
                                        20 U.S.C. 1412(a)(23)(A) and (D); 34 CFR §300.172.

                                 23b.   (Note: Check either "23b.1" or "23b.2" whichever applies.

                                 23b.1 The State educational agency coordinates with the National
                                       Instructional Materials Access Center and not later than 12/03/06 the
                                       SEA as part of any print instructional materials adoption process,
                                       procurement contract, or other practice or instrument used for purchase
                                       of print instructional materials enters into a written contract with the
                                       publisher of the print instructional materials to:
                                        •   require the publisher to prepare and, on or before delivery of the
     X
                                            print instructional materials, provide to the National Instructional
                                            Materials Access Center, electronic files containing the contents of
                                            the print instructional materials using the National Instructional
                                            Materials Accessibility Standard; or
                                        •   purchase instructional materials from the publisher that are
                                            produced in, or may be rendered in, specialized formats.
                                            (20 U.S.C. 1412(a)(23)(C); 34 CFR §300.172)

                                 23b.2 The State educational agency has chosen not to coordinate with the
                                       National Instructional Materials Access Center but assures that it will
                                       provide instructional materials to blind persons or other persons with
                                       print disabilities in a timely manner. (20 U.S.C. 1412(a)(23)(B);
                                       34 CFR §300.172)

                                 24.    The State has in effect, consistent with the purposes of the IDEA and
                                        with section 618(d) of the Act, policies and procedures designed to
                                        prevent the inappropriate overidentification or disproportionate
     X                                  representation by race and ethnicity of children as children with
                                        disabilities, including children with disabilities with a particular
                                        impairment described in 34 CFR §300.8. (20 U.S.C 1412(a)(24);
                                        34 CFR §300.173)

                                 25.    The State educational agency shall prohibit State and local educational
                                        agency personnel from requiring a child to obtain a prescription for a
                                        substance covered by the Controlled Substances Act (21 U.S.C. 812(c))
     X
                                        as a condition of attending school, receiving an evaluation under
                                        34 CFR §§300.300 through 300.311, or receiving services under the
                                        IDEA as described in 20 U.S.C. 1412(a)(25)(A)-(B); 34 CFR §300.174.



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B. Other Assurances

The State also makes the following assurances:

Yes                                                Other Assurances

         1. The State shall distribute any funds the State does not reserve under 20 U.S.C. 1411(e) to
            local educational agencies (including public charter schools that operate as local educational
 X
            agencies) in the State that have established their eligibility under section 613 for use in
            accordance with this part as provided for in 20 U.S.C. 1411(f)(1)-(3); 34 CFR §300.705.

         2. The State shall provide data to the Secretary on any information that may be required by the
 X
            Secretary. (20 U.S.C. 1418(a)(3); 34 CFR §§300.640-300.645.)

         3. The State, local educational agencies, and educational service agencies shall use fiscal
 X          control and fund accounting procedures that insure proper disbursement of and accounting for
            Federal funds. (34 CFR §76.702)

         4. As applicable, the assurance in OMB Standard Form 424B (Assurances for Non-Construction
            Programs), relating to legal authority to apply for assistance; access to records; conflict of
            interest; merit systems; nondiscrimination; Hatch Act provisions; labor standards; flood
 X
            insurance; environmental standards; wild and scenic river systems; historic preservation;
            protection of human subjects; animal welfare; lead-based paint; Single Audit Act; and general
            agreement to comply with all Federal laws, executive orders and regulations.


C. Certifications

The State is providing the following certifications:

Yes      Certifications

         1. The State certifies that ED Form 80-0013, Certification Regarding Lobbying, is on file with the
            Secretary of Education.
             With respect to the Certification Regarding Lobbying, the State recertifies that no Federal
             appropriated funds have been paid or will be paid to any person for influencing or attempting
 X           to influence an officer or employee of any agency, a Member of Congress, an officer or
             employee of Congress, or an employee of a Member of Congress in connection with the
             making or renewal of Federal grants under this program; that the State shall complete and
             submit Standard Form-LLL, "Disclosure Form to Report Lobbying," when required (34 CFR
             Part 82, Appendix B); and that the State Agency shall require the full certification, as set forth
             in 34 CFR Part 82, Appendix A, in the award documents for all sub awards at all tiers.

         2. The State certifies that certification in the Education Department General Administrative
            Regulations (EDGAR) at 34 CFR §76.104 relating to State eligibility, authority and approval to
 X
            submit and carry out the provisions of its State application, and consistency of that application
            with State law are in place within the State.

         3. The State certifies that the arrangements to establish responsibility for services pursuant to
            20 U.S.C. 1412(a)(12)(A)-(C); 34 CFR §300.154 (or 20 U.S.C. 1412(a)(12)(A);
 X
            34 CFR §300.154(a) are current. This certification must be received prior to the expenditure
            of any funds reserved by the State under 20 U.S.C. 1411(e)(1); 34 CFR §300.171.



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